          Case 5:19-cv-00141-MTT Document 21 Filed 09/16/19 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

  WILLA ONLEY, individually and on behalf
  of all those similarly situated,

           Plaintiff,

           v.                                             Civil Action No. 5:19-cv-00141-MTT

  NATIONWIDE MUTUAL FIRE
  INSURANCE COMPANY,

         Defendant.



                                                ORDER

        Having considered the parties’ joint submission regarding the resolution of whether

Endorsement H-6182-C was effective to eliminate coverage for diminished value from Plaintiff’s

homeowners policy in effect at the time of Plaintiff’s covered insurance loss on April 18, 2018,

the Court enters the following Order:

        (1)       On or before September 23, 2019, the parties will negotiate a set of stipulated facts

they deem relevant to resolution of this issue, provided however that such stipulation shall not

preclude either party from alleging or relying upon any additional facts in connection with the

briefing described herein.

        (2)       On or before September 27, 2019, Defendant will produce to Plaintiff certified

copies of Plaintiff’s policies in effect from July 2013 to the end of 2018, along with any

endorsements Defendant maintains are part of the policies and any letter, explanatory insert,

notice, or other documentation that accompanied Defendant’s issuance of Endorsement H-6182-

C to Plaintiff.
            Case 5:19-cv-00141-MTT Document 21 Filed 09/16/19 Page 2 of 2



        (3)     On or before November 11, 2019, the parties will complete discovery, if any,

needed to establish any facts regarding which the parties could not reach a stipulation and/or any

additional facts needed for purposes of the briefing described herein. Other than the discovery set

forth herein related to the enforceability of Endorsement H-6182-C, and the written responses to

discovery that Plaintiff had propounded to Defendant prior to the August 15, 2019 teleconference

with the Court, discovery related to the merits of this case is stayed until the enforceability issue

is resolved.

        (4)     On or before November 20, 2019, Defendant will move or otherwise raise with the

Court by way of an appropriate filing the issue of whether Endorsement H-6182-C was effective

to exclude coverage for diminished value from Plaintiff’s homeowners policy in effect on April

18, 2018.

        (5)     Plaintiff shall have 30 days to respond to any such filing or motion by Defendant.

        (6)     In light of the holiday season, Defendant shall have 23 days after the filing of

Plaintiff’s response brief to file its reply brief, if any.

        The procedures and filings described above shall not impact either party’s right to file

future motions, including dispositive motions, as allowed by the Court’s Scheduling Order or

applicable rules.

        SO ORDERED. this 16th day of September, 2019.


                                                  S/ Marc T. Treadwell
                                                  __________________________________
                                                  MARC T. TREADWELL, JUDGE
                                                  UNITED STATES DISTRICT COURT




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